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16
                       UNITED STATES DISTRICT COURT
17                FOR THE EASTERN DISTRICT OF WASHINGTON
18

19   STATE OF WASHINGTON, et al.,             No. 1:23-cv-03026
20
                              Plaintiffs,     DEFENDANTS’ RESPONSE IN
21                                            OPPOSITION TO STATE
           v.                                 INTERVENORS’ MOTION TO
22
                                              INTERVENE
23   U.S. FOOD AND DRUG
     ADMINISTRATION, et al.,
24

25                            Defendants.
26

27


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 1                                         INTRODUCTION

 2            Idaho and six other states (Intervenors) seek to intervene of right under

 3 Federal Rule of Civil Procedure 24(a)(2), or permissively under Rule 24(b)(1)(B).

 4 Because Intervenors seek a result not sought by any other party—specifically, that

 5 the U.S. Food and Drug Administration (FDA) reintroduce the in-person

 6 dispensing requirement for the drug mifepristone1—they must establish

 7 independent Article III standing to do so. They have not made that showing.

 8            Intervenors offer three theories of standing, but each fails. First, contrary to

 9 Intervenors’ assertion, they lack standing to sue the federal government as parens

10 patriae on their residents’ behalf. Second, while Intervenors ostensibly sue to

11 vindicate their power to create and enforce state law, they have not identified any

12 act by Defendants that interferes with that power. Third, Intervenors’ prediction

13 that removal of the in-person dispensing requirement will burden their Medicaid

14 programs is mere speculation devoid of factual support. Because they have failed

15 to establish independent Article III standing, Intervenors’ motion should be denied.

16
     1
         This brief uses the term “mifepristone” to refer to drug products that are
17
     approved for medical termination of early pregnancy, in both brand name and
18
     generic form. FDA has separately approved another manufacturer’s drug, Korlym,
19
     which has mifepristone as its active ingredient and is approved for the treatment of
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     Cushing’s syndrome. This litigation does not affect Korlym or its generic.
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 1                                     BACKGROUND

 2        The State of Washington and 11 other states filed this lawsuit on February

 3 23, 2023, Compl., Dkt. 1, and they filed an Amended Complaint on March 9, 2023,

 4 with five additional states and the District of Columbia, Am. Compl., Dkt. 35.

 5 Among other things, Plaintiffs seek an order directing FDA to “remove” all of the

 6 Risk Evaluation and Mitigation Strategy (REMS) restrictions on the drug

 7 mifepristone. Id. ¶ 8. They also seek declaratory and injunctive relief that would

 8 bar Defendants from “enforcing or applying” the mifepristone REMS or

 9 “reduc[ing] [mifepristone’s] availability.” Id. at 90. On April 7, 2023, this Court

10 preliminarily enjoined Defendants from “altering the status quo and rights as it

11 relates to the availability of Mifepristone under the current operative January 2023

12 [REMS] under 21 U.S.C. § 355-1 in Plaintiff States.” Order Granting in Part

13 Plaintiffs’ Motion for Preliminary Injunction, Dkt. 80, at 30 (Apr. 7, 2023).

14        Meanwhile, on March 30, 2023, Intervenors had moved to intervene. Mot. to

15 Intervene, Dkt. 76. They challenge FDA’s January 3, 2023 decision to remove a

16 requirement that mifepristone be dispensed in clinics, medical offices, and

17 hospitals, by or under the supervision of a certified provider (the in-person

18 dispensing requirement). See Intervenors’ Proposed Compl., Dkt. 76-1

19 (Intervenors’ Compl.), ¶¶ 96, 102, 107. Thus, in contrast to Plaintiffs, Intervenors

20 seek to increase, not reduce, restrictions on mifepristone. Id.

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 1                                        ARGUMENT

 2     I.      Intervenors May Not Intervene Of Right

 3          Intervenors primarily seek intervention of right under Federal Rule of Civil

 4 Procedure 24(a)(2). See Mot. to Intervene 2. Under that rule, a court must permit

 5 intervention by a litigant that “claims an interest relating to the property or

 6 transaction that is the subject of the action, and is so situated that disposing of the

 7 action may as a practical matter impair or impede the movant’s ability to protect its

 8 interest, unless existing parties adequately represent that interest.” Fed. R. Civ. P.

 9 24(a)(2). However, “an intervenor of right must have Article III standing in order

10 to pursue relief that is different from” that sought by the original plaintiffs. Town of

11 Chester v. Laroe Estates, Inc., 581 U.S. 433, 440 (2017); accord Ore. Prescription

12 Drug Monitoring Program v. U.S. Drug Enf’t Admin., 860 F.3d 1228, 1234 (9th

13 Cir. 2017) (OPDMP). This rule flows from the principle that standing must be

14 established “for each claim” raised and “for each form of relief that is sought.”

15 Town of Chester, 581 U.S. at 439 (quotation marks and citation omitted).

16          Here, Intervenors seek relief that is wholly distinct from, and even

17 irreconcilable with, that sought by Plaintiffs. As Intervenors acknowledge, “the

18 existing Plaintiffs are seeking to eliminate mifepristone’s REMS altogether,”

19 whereas Intervenors “are seeking to restore and strengthen mifepristone’s REMS”

20 by reviving the in-person dispensing requirement. Mot. to Intervene 5. And

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 1 apparently recognizing the need to establish their independent standing,

 2 Intervenors, like Plaintiffs, allege injuries tailored to their distinct claims. Compare

 3 Am. Compl. ¶¶ 168-70 (alleging that the mifepristone REMS injures Washington’s

 4 residents by impairing access to a “critical medicine” that is “safe and effective”),

 5 with Intervenors’ Compl. ¶¶ 39-56 (alleging that FDA’s elimination of the in-

 6 person dispensing requirement will harm Idaho’s residents by exposing them to

 7 “dangerous complications”). Thus, while both groups challenge FDA’s January

 8 2023 decision, “[w]hat Intervenors want is something very different” from what

 9 Plaintiffs want. OPDMP, 860 F.3d at 1234. Therefore, they “must establish

10 independent Article III standing.” Id.

11         To meet the “irreducible constitutional minimum of standing,” Lujan v.

12 Defs. of Wildlife, 504 U.S. 555, 560 (1992), Intervenors “must show (i) that [they]

13 suffered an injury in fact that is concrete, particularized, and actual or imminent;

14 (ii) that the injury was likely caused by the defendant[s]; and (iii) that the injury

15 would likely be redressed by judicial relief,” TransUnion LLC v. Ramirez, 141 S.

16 Ct. 2190, 2203 (2021). An “injury-in-fact” must be “actual” or “certainly

17 impending,” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013), not

18 “conjectural” or “hypothetical,” Lujan, 504 U.S. at 560. “‘[A]llegations of possible

19 future injury’ are not sufficient.” Clapper, 568 U.S. at 409 (quoting Lujan, 504

20 U.S. at 565 n.2). To satisfy the causation requirement, Intervenors must also show

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 1 that their alleged injuries are “fairly traceable to the challenged action of the

 2 defendant, and not the result of the independent action of some third party not

 3 before the court.” Lujan, 504 U.S. at 560.

 4         Intervenors offer three theories of standing; each fails. First, just as

 5 Defendants have argued with respect to Plaintiffs, see Defs.’ PI Opp., Dkt. 51, at

 6 18, Intervenors lack standing to sue the federal government as parens patriae on

 7 behalf of their residents. See Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel.

 8 Barez, 458 U.S. 592, 610 n.16 (1982) (citing Massachusetts v. Mellon, 262 U.S.

 9 447, 485-86 (1923)). Intervenors suggest that they have a “quasi-sovereign interest

10 in the health and well-being” of their residents, Mot. to Intervene 4, but the federal

11 government is “the ultimate parens patriae of every American citizen.” S. Carolina

12 v. Katzenbach, 383 U.S. 301, 324 (1966); see also Gov’t of Manitoba v. Bernhardt,

13 923 F.3d 173, 180-83 (D.C. Cir. 2019) (applying this rule to APA claims); Order,

14 Dkt. 80, at 12 (“Courts have determined that the APA alone does not demonstrate

15 congressional intent to authorize a state to sue the federal government as parens

16 patriae.”). Accordingly, any alleged injury to Intervenors’ citizens cannot establish

17 Intervenors’ standing to challenge FDA’s January 2023 action under the APA.

18         Second, while Intervenors contend that FDA’s January 2023 action

19 “undermines the State Intervenors’ ability to enforce their laws,” Mot. to Intervene

20 4, they fail to “clearly allege facts” in support of that contention, Spokeo, Inc. v.

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 1 Robins, 578 U.S. 330, 338 (2016). Instead, Intervenors allege that, “without the in-

 2 person dispensing requirement,” Intervenors’ residents may find it easier to violate

 3 those states’ laws. E.g., Intervenors’ Compl. ¶¶ 52, 55. This theory relies on a

 4 “speculative chain of possibilities” about what could occur in the absence of the in-

 5 person dispensing requirement. Clapper, 568 U.S. at 414. For example, Idaho fears

 6 that (1) an out-of-state health care provider “could conduct a telehealth

 7 appointment with an Idaho resident and prescribe her mifepristone,” (2) the

 8 resident “could travel [out of state] to have a mifepristone prescription filled,” (3)

 9 such events “will result in an influx of mifepristone in Idaho,” and (4) the State

10 will be unable to stop this through enforcement of its laws. Intervenors’ Compl. ¶

11 52 (emphasis added). Such contingencies cannot establish a “certainly impending”

12 injury, especially where they “rest on speculation about the decisions of

13 independent actors”—here, unidentified physicians, pharmacists, and patients.

14 Clapper, 568 U.S. at 414; see also Lujan, 504 U.S. at 561-62.

15        Moreover, Intervenors’ theory is particularly suspect because it is premised

16 on an assumption that independent actors will attempt to evade Intervenors’ state

17 laws. Cf. City of Los Angeles v. Lyons, 461 U.S. 95, 105-06 (1983). As an initial

18 matter, Intervenors do not clearly explain what allegedly unlawful conduct the in-

19 person dispensing requirement supposedly prevents. In any event, their mere

20 supposition that removal of the in-person dispensing requirement “will lead to

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 1 increased unlawful behavior” by third parties is insufficient, given the difficulty in

 2 predicting how third parties not before the court will act. See Arpaio v. Obama,

 3 797 F.3d 11, 22 (D.C. Cir. 2015) (rejecting as speculative plaintiff’s inference that

 4 a change in federal immigration law would lead to an increase in crime); see also

 5 Whitewater Draw Nat. Res. Conservation Dist. v. Mayorkas, 5 F.4th 997, 1014-15

 6 (9th Cir. 2021) (citing Arpaio with approval and rejecting a theory of standing that

 7 “hinges on an unreasonable response of third parties” to a federal policy).

 8        In addition, Intervenors fail to explain how FDA’s removal of the in-person

 9 dispensing requirement infringes upon the Intervenors’ “power to create and

10 enforce a legal code,” Mot. to Intervene 4 (citing Alfred L. Snapp & Son, 458 U.S.

11 at 601). Intervenors cite—and Defendants are aware of—no authority holding that

12 the federal government injures a state’s sovereign interest in enforcing its laws

13 merely by eliminating a federal policy that states allege incidentally makes it

14 harder to violate their laws. And Intervenors’ conclusory assertion that

15 “enforcement of [their] law[s] . . . depends on . . . an in-person dispensing

16 requirement,” e.g., Intervenors’ Compl. ¶ 55, fails to establish a cognizable injury.

17        Third, Intervenors’ prediction that removal of the in-person dispensing

18 requirement will cause an “increased risk” to patients, thereby necessitating

19 “additional medical care” that could increase state “Medicaid expenditures,” e.g.,

20 Intervenors’ Compl. ¶ 54, amounts to a “speculative fear” rather than a “certainly

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 1 impending” injury. Clapper, 568 U.S. at 410. This theory relies on the same chain

 2 of assumptions, discussed above, that Intervenors’ residents will obtain

 3 mifepristone in another state and then use it in their home states.

 4           To those assumptions, Intervenors add two more: (1) that the Intervenors’

 5 residents will experience adverse events from their use of mifepristone, and (2) that

 6 they will seek care covered by Medicaid. See, e.g., Intervenors’ Compl. ¶ 54.

 7 Ignoring FDA’s reasoned conclusion that the in-person dispensing requirement

 8 was no longer necessary to ensure that the benefits of the drug outweigh the risks,

 9 see Dkt. 51-4, at 38-39, Intervenors rely (Intervenors’ Compl. ¶¶ 35, 54) on FDA’s

10 discussion of three studies “suggest[ing] there may be more frequent [emergency

11 department and] urgent care visits” when mifepristone is “dispensed by mail from

12 [a] clinic.” Intervenors’ Compl. Ex. 2 at 34 (emphasis added). But FDA noted that

13 these studies did not show an increase in serious adverse events associated with the

14 lack of in-person dispensing. Id.; see also id. at 33.2

15

16   2
         Additionally, whereas mifepristone’s labeling references only unplanned
17 emergency department (ED) visits, two of the studies did not differentiate between

18 ED and urgent care visits, so it was unclear whether the frequency of the former

19 had actually increased. See Intervenors’ Compl. Ex. 2 at 32 n.108. And one of

20 those studies revealed that half of the visits resulted in no treatment. Id. at 32.

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 1        Moreover, such studies do not relieve Intervenors of their burden to “clearly

 2 allege facts” showing that increases in such visits are impending, so as to establish

 3 standing. Spokeo, 578 U.S. at 338. Tellingly, Intervenors fail to identify even one

 4 instance of a Medicaid expenditure that would have been prevented by the in-

 5 person dispensing requirement, despite their having had two years of experience to

 6 draw on. See Intervenors Compl. Ex. 2 at 5 (noting that FDA first suspended its

 7 enforcement of that requirement in April 2021). Intervenors’ “unadorned

 8 speculation” about a contingent financial injury cannot establish their standing.

 9 Diamond v. Charles, 476 U.S. 54, 66 (1986).

10        Finally, Intervenors’ Medicaid expenditures theory fails because a federal

11 policy’s mere incidental effect on state expenditures does not qualify as a

12 cognizable injury. Rather, Intervenors’ must allege a “direct injury” at the hands of

13 the federal government. Florida v. Mellon, 273 U.S. 12, 18 (1927) (rejecting

14 Florida’s “remote and indirect” theory that a federal tax would harm the state by

15 diminishing its tax base). Intervenors’ “boundless theory”—whereby a state may

16 sue to block a federal policy’s purely derivative effects on that state’s fisc—would

17 eviscerate the “limits on state standing” because many federal actions that affect a

18 state’s residents can be associated with “peripheral costs” for that state. Arizona v.

19 Biden, 40 F.4th 375, 386 (6th Cir. 2022). Because the hypothetical Medicaid

20 expenditures of which Intervenors complain would be, at most, a “remote and

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 1 indirect” consequence of a federal policy, they are not a cognizable Article III

 2 injury. Florida, 273 U.S. at 18.

 3     II.      For The Same Reasons, Permissive Intervention Would Be Improper

 4           Intervenors alternatively seek permissive intervention under Rule

 5 24(b)(1)(B), which provides that a court “may permit” intervention by a litigant

 6 that “has a claim or defense that shares with the main action a common question of

 7 law or fact.” Id. But because Article III requires that “[f]or all relief sought, there

 8 must be a litigant with standing,” Town of Chester, 581 U.S. at 439, and because

 9 Intervenors seek relief sought by no other party, Intervenors’ lack of standing

10 makes permissive intervention improper. See Cross Sound Cable Co., LLC v. Long

11 Island Lighting Co., 2022 WL 247996, *9 (E.D.N.Y. Jan. 27, 2022) (applying

12 Town of Chester to permissive intervention); see also Perry v. Schwarzenegger,

13 630 F.3d 898, 906 (9th Cir. 2011) (affirming refusal to permit intervention where

14 intervenors lacked standing to vindicate their “specific interest”); cf. E.E.O.C. v.

15 Nevada Resort Ass’n, 792 F.2d 882, 886 (9th Cir. 1986) (“A party seeking

16 permissive intervention … must establish a basis for federal subject matter

17 jurisdiction independent of the court’s jurisdiction over the underling action.”).

18                                       CONCLUSION

19           For the foregoing reasons, the Court should deny Intervenors’ Motion to

20 Intervene.

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1                               CERTIFICATE OF SERVICE

2       I hereby certify that, on April 13, 2023, I electronically filed the foregoing with

3 the Clerk of the Court using the CM/ECF system, which will send notification of

4 such filing to all counsel of record.

5

6                                                 /s/ Noah T. Katzen
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